Case 3:16-cV-0117O-RDI\/| Document 14 Filed 04/25/19 Page 1 of 1

THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF PENNSYLVAN|A

W|LSON ANTON|O ZOQU|ER,
P|aintiff, :
v. : 3:16-CV-1170
(JUDGE MAR|AN|)
NANCY A. BERRYH|LL,
ACT|NG COMM|SS|ONER OF
SOC|AL SECUR|TY,

Defendant.

5 ORDER
AND NOW, THIS BWL DAY OF APR|L 2019, upon review of Magistrate
Judge Arbuck|e’s Report and Recommendation (“R&R") (Doc. 13) for clear error or manifest
injustice, |T lS HEREBY ORDERED THAT:
1. The R&R (Doc. 13) is ADOPTED for the reasons discussed therein.
2. The Commissioner of Socia| Security’s decision is VACATED.
3. The case is REMANDED for further proceedings consistent with this Order.

4. The C|erk of Court is directed to CLOSE this case.

 

 

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United States District Judge

